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                      UNITED STATES BANKRUPTCY COURT FOR THE
                           SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                        )   IN PROCEEDINGS UNDER
                                              )   CHAPTER 7
JENNIFER SUE WHEAT                            )
n/k/a JENNIFER WOOD,                          )
                                              )
         Debtors.                             )   Case No. 16-41034

                       THIRD PETITION FOR RULE TO SHOW CAUSE

         Comes now Dana S. Frazier, Trustee, and files this Third Petition for Rule to Show Cause
and in support thereof states as follows:
            1. On November 29, 2017, an Order was entered ordering Debtor to fully comply
                with Trustee’s Motion to Turnover by paying Trustee $4,705.64, representing the
                Debtor’s 2016 income tax refund, within ten days.
            2. Debtor failed to make payment as agreed. Thereafter, two Agreed Orders on
                Trustee’s Motions to Show Cause were entered into with payment arrangements.
            3. Debtor has failed to make payments as agreed pursuant to the January 22, 2018,
                and April 11, 2019, Agreed Orders.
            4. The last payment received from Debtor was January 3, 2022 in the amount of
                $120.00.
            5. To date, there remains $961.64 owed representing the 2016 income tax refunds.
            6. In addition, bank fees have accrued in the amount of $268.57.
            7. The Debtor has willfully refused and failed to comply with said Orders in that
                Debtor has failed to turn over said payment to Dana S. Frazier, Trustee.
         WHEREFORE, Dana S. Frazier, Trustee, prays that the Court issue and Order for Rule
requiring Debtor to show cause, if any, why she should not be held in contempt of Court and
punished for failure to comply with said Orders and for such further relief as this Court deems
just and equitable.


DATE: May 27, 2022

                                        /s/ Dana S. Frazier___________________
                                        Dana S. Frazier, Trustee

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IN RE:                                      )   IN PROCEEDINGS UNDER
                                            )   CHAPTER 7
JENNIFER SUE WHEAT                          )
n/k/a JENNIFER WOOD,                        )
                                            )
         Debtors.                           )   Case No. 16-41034


                               CERTIFICATE OF SERVICE

      I, the undersigned, do hereby certify that I served a copy of the Third Petition for Rule
to Show Cause by U.S. Mail or Electronic Mail to:

Mark Tungate, Debtor’s attorney

Jennifer Wood
1015 N 1st Street
Fairfield, IL 62837

Jennifer Wood
207 W. Jackson Ave
Casey, IL 62420


U.S. Trustee

Dated: May 27, 2022

                                                     /s/ Dana S. Frazier
                                                     Dana S. Frazier


Chapter 7 Trustee
P.O. Box 159
Murphysboro, IL 62966
Phone:(618) 687-5707
Fax: (618) 687-5710
frazierlaw@frontier.com




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